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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 TOPSTEPTRADER, LLC

                        Plaintiff,
                                                      Case Number: 17-cv-4412
         v.                                           Honorable Judge Harry D. Leinenweber

 ONEUP TRADER, LLC, and                               JURY TRIAL DEMANDED
 SATTAM ALSABAH,

                        Defendants.

                              SECOND AMENDED COMPLAINT

         TopstepTrader, LLC (“TST”) operates the internationally renowned premier scouting and

 recruiting program to attract, vet, and fund prospective traders that uses patent pending

 technology, which has been featured or cited in numerous news articles, such as in Forbes,

 CNBC, Bloomberg, Fox Business, and MarketWatch, among others. It provides its clients with

 software and training that it spent thousands of hours developing and perfecting. But rather than

 invest time and resources into developing its own content, and in violation of the agreements it

 entered, Defendants Sattam Alsabah (“Alsabah”), individually, and on behalf of, OneUp Trader,

 LLC and its predecessors in interest, successors, or joint ventures thereof, together with any and

 all parent or affiliated companies or corporations, and all officers, directors, employees, agents,

 attorneys, representatives, and those acting in privity or concert with them, or on their behalf

 (collectively “OneUp”) implanted itself into TST’s training program to gather business

 intelligence to study TST’s business platform and intellectual property, and then it wholesale

 copied TST’s business platform and its copyrighted website content to use on its own website.

 By using the information it stole from TST’s program, and by wholesale copying TST’s content,

 OneUp was able to become immediately competitive in the financial technology field. Rather
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 than expending those resources itself, OneUp rode off of TST’s hard work. OneUp’s copying and

 unpermitted uses of TST’s information constitutes copyright infringement, fraud, breach of

 contract, and in the alternative, unjust enrichment.

                                             PARTIES

         1.      Plaintiff TopstepTrader, LLC (“TST”) is an Illinois limited liability corporation

 with a principal place of business at 130 South Jefferson St., Ste. 200, Chicago, Illinois 60661.

 TST was incorporated on July 12, 2012.

         2.      Upon information and belief, Defendant OneUp Trader, LLC is a Delaware

 limited liability corporation with a principal place of business at 501 Silverside Rd. Ste. 403,

 Wilmington, Delaware 19809. OneUp Trader, LLC was incorporated on April 5, 2017.

         3.      Upon information and belief, Sattam Alsabah is an individual residing in Kuwait

 City, Kuwait.

                                 JURISDICTION AND VENUE

         4.      This court has subject matter jurisdiction over TST’s claims because they arise

 under the Copyright Act, 17 U.S.C. § 101 et seq., because the parties are completely diverse, and

 the amount in controversy exceeds $75,000. Federal subject matter jurisdiction is therefore

 conferred by 28 U.S.C. §§ 1331, 1332, and 1338.

         5.      This Court has supplemental jurisdiction over the Parties’ state law claims in this

 Complaint, which arise under the statutory and common law of the State of Illinois, pursuant to

 28 U.S.C. § 1367(a), because the state law claims are so related to the federal claims that they

 form part of the same case or controversy and derive from a common nucleus of operative facts.

         6.      Venue and personal jurisdiction are proper in the Northern District of Illinois

 under 28 U.S.C. § 1391(b) and (c) because a substantial part of the events giving rise to the claims

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 herein occurred here in this District, Defendants are doing business in this District, and

 Defendants have promoted infringing goods and services in this District.

        7.        This Court has personal jurisdiction over Defendants because they have

continuous and systematic contacts with the state of Illinois, and because they purposefully

directed its activities toward the state of Illinois, causing harm suffered in the state of Illinois, does

business in this District, and because this action is based upon activities that arise out of or relate

to those contacts.

         8.       Defendants further consented to the exclusive jurisdiction before this Court in

 connection with any action arising out of or related to the contract at issue or its subject matter,

 as well as Defendants’ wrongful conduct identified herein and they waived any objection based

 on lack of personal jurisdiction, place of residence, improper venue or forum non-conveniens in

 any such action.

                                     FACTUAL BACKGROUND

         9.       TST created a novel software that allows individuals interested in trading financial

 instruments to enter into a simulated market that mirrors the live market, and based on individual

 performance, to get funded to trade financial instruments on the live market in exchange for a

 share of the profits.

         10.      In less than a decade, TST has grown from a few employees to a multi-million-

 dollar company that is now the worldwide leading provider of its proprietary system for scouting

 and funding traders.

               A. TST’s Patent-Pending Software and Intellectual Property

         11.      In exchange for a monthly subscription fee, a prospective trader first enters into

 the Trading Combine®, where the individual will trade financial instruments in a simulated

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 market mirroring the live market. If the prospective trader successfully stays within the

 parameters and hits specified benchmarks, they will be placed in Funded Trader Preparation®,

 where the individual will get accustomed to trading within the same parameters as their live

 account. If the individual again stays within the parameters, the prospective trader will be placed

 into a Funded AccountTM. At this point, the trader and TST then split the profits.

         12.     This patent-pending technology and software is a one-of-a-kind product that is at

 the forefront of the field.

         13.     Because of its innovative technology and process, TopstepTrader has received

 many accolades, including being named a 2016 FIA Innovator by the Futures Industry

 Association, was a 2016 Chicago Innovation Awards Finalist, and its founder and CEO, Michael

 Patak, was also recognized by Ernst & Young as a finalist for its Entrepreneur of the Year Award.

         14.     TST has been featured in numerous news articles, including by Forbes as a

 “Techweek Compan[y] To Bet On”, and has also appeared in news sources like CNBC,

 Bloomberg, Fox Business, MarketWatch, Built in Chicago, among others. TopstepTrader was

 also listed as one of the “101 Best and Brightest Companies to Work For” in 2016 and 2017.

         15.     TST is the true, rightful, and sole owner of all copyrights and intellectual property

 at issue in this action, including the copyright listed below, except as otherwise noted, including

 the website www.topsteptrader.com (“Website”) and all content therein.

         16.     TST’s copyright has an application for registration filed with the United States

 Copyright Office.

         17.     TST      owns     Copyright      Application     No.     1-4001234481,        named

 www.topsteptrader.com. Exh. A.



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         18.      TST has invested substantial time and resources into developing its copyrighted

 material.

               B. TST’s Terms of Use

         19.      TST’s Website’s full content is only available upon request after entering into an

 agreement to be bound by TST’s Terms of Use (“TOU”). A true and correct copy of TST’s TOU

 is attached as Exh. B.

         20.      At all times relevant hereto, a link to TST’s Terms of Use was present on every

 page of TST’s Website.

         21.      Certain content and features of TST’s Website, including a user’s access to TST’s

 software, applications, online services, products, and other proprietary content is limited to users

 who have applied for and registered an account and affirmatively accepted and agreed to be bound

 by the terms and conditions contained in the TOU agreement.

         22.      Interested users must provide identifying information to TST (i.e. a user account),

 and if accepted, in return for a monthly fee and agreement to abide by the terms and conditions

 of the TOU, TST may issue a unique User ID and password combination.

         23.      TST’s Website’s users agree to be bound by the terms and conditions contained

 in the current version of TST’s TOU each time they access and use the TST Website.

         24.      In relevant part, during 2015 and until September 16, 2016, the TOU (“Original

 TOU”) stated TopstepTrader, LLC (“Company”)

    [H]has adopted these Terms of Use (“Terms of Use” or “Agreement”) to make you aware
    of the terms and conditions of your use of the http://www.topsteptrader.com website, any
    derivative websites on which these Terms of Use are posted and any Content or other
    services that are offered or provided via the aforementioned websites (collectively, the
    “Website”). In the event that you purport to be the agent of, represent, or otherwise act on
    behalf of an entity or any other person, references to “you,” “your” or “User” shall include
    such entity or person in addition to you, and your acceptance of this Agreement shall
    constitute acceptance on behalf of such entity or person.
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    Company reserves the right, at its discretion to change, modify, add or remove portions of
    these Terms of Use at any time by posting such chances to this page…[t]he continued use
    of the Website following the posting of changes to these Terms of Use will constitute your
    acceptance of those changes.”

    A true and correct copy of the Original TOU is attached as Exh. C.

         25.    Subsequently, the Original TOU was modified and the revised TOU (“Revised

 TOU” or “TOU”) was posted at http://www.topsteptrader.com on September 16, 2016. In

 accordance with its terms, users who had previously accessed and agreed to be bound by the

 Original TOU, whether in their individual capacity, or on behalf of another individual or entity,

 and later accessed the TopstepTrader Website, agreed to be and did become bound by the terms

 and conditions of the Revised TOU each time such users accessed the Website using login

 credentials issued by TST and continued to pay the ongoing monthly subscription fee in

 exchange.

         26.    The Revised TOU states that, “[b]y using our Sites or Services, whether by

 accessing, creating an account, posting or downloading content or otherwise, you accept and

 agree to be bound by these Terms.” Exh. B, at 2.

         27.    Additionally, TST has a sign-up page that requires users to certify that they agree

 to TST’s TOU, and TST provides a link to the TOU. Exh. D.

         28.    The TOU states that users are granted a limited and revocable license to access

 and use TST’s Website, which, among other things, includes various restrictions to that limited

 license. For instance, the license restrictions state a user “shall not reproduce, distribute, modify,

 create derivative works of, publicly display, publicly perform, republish, download, store or

 transmit and of our material,” and that a user “shall not access or use for any commercial purposes

 any part of [TST’s] Sites or Services.” Exh. B, at 12.


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         29.     The TOU also requires users to acknowledge and agree that “[TST’s] Sites or

 Services and their entire contents, features, and functionality (including, all information, software,

 text, displays, images, video and audio, and the design, selection and arrangement thereof), are

 owned by TopstepTrader, its licensors or other providers of such material and are protected by

 United States and international copyright, trademark, patent, trade secret, and other intellectual

 property or proprietary rights laws and treaties.” Exh. B, at 12.

         30.     The TOU further states that “no portion of [TST’s] Sites or Services, their contents

 or any copyright, trademark, trade name, service mark or any other proprietary information of

 [TST] displayed on [TST’s] Sites or Services…may be reproduced, altered, transmitted,

 published or distributed, whether electronically [or otherwise]…without the prior written

 permission of [TST],” and users “agree not to undertake any action that will interfere with or

 diminish [TST’s] right, title or interest in [its] intellectual property.” Exh. B, at 12.

         31.     The TOU also expressly forbids the “use [of] the Sites or Services to gain

 competitive intelligence about [TST] or the Sites or Services to compete with [TST] or its

 affiliates.” Exh. B, at 15.

         32.     Users further agree that any “breach of the provisions of this Agreement [will]

 cause irreparable harm and significant injury,” and that “[TST] has the right to enforce the

 provisions of this agreement by injunction.” Exh. B, at 15-16.

         33.     All users also agree that the TOU shall be “governed by and construed in

 accordance with the laws of the State of Illinois,” and they “irrevocably consent to the exclusive

 jurisdiction of the courts located in the State of Illinois in connection with any action arising out

 of or related to these Terms and their subject matter,” and further “waive any objection based on



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 lack of personal jurisdiction, place of residence, improper venue or forum non conveniens in any

 such action.” Exh. B, at 14.

         34.    As described in greater detail below, Defendants’ conduct is in flagrant violation

 of each of these provisions.

                                  ONEUP’S MISCONDUCT

         35.    On information and belief, Defendant Alsabah intended to and did create a

 competing entity to TST by masquerading as a potential trader purportedly interested in becoming

 a subscribing TST Website user. All along his purpose was to gather protected and proprietary

 information to create a competing entity through which he capitalized upon stolen secrets and

 wrongfully obtained information. The competing entity eventually became known as OneUp

 Trader, LLC.

         36.    On information and belief, Alsabah, has at all times relevant herein, acted as an

 agent of OneUp Trader, LLC with the authority to bind OneUp Trader, LLC and otherwise act

 on OneUp Trader, LLC’s behalf. Alternatively, at all times relevant herein, OneUp Trader, LLC

 is the alter ego of Alsabah.

         37.    On information and belief, Alsabah has an ownership interest in and is the creator

 of OneUp Trader, LLC.

         38.    In or about September 2015, OneUp, at least through Alsabah, accessed TST’s

 Website and agreed to be bound by the terms and conditions of the Original TOU.

         39.    In or about Fall 2016 and Spring of 2017, OneUp accessed TST’s Website and

 accepted the TOU by clicking on the box next to the words “Please Accept Terms of Use.”

         40.    After OneUp agreed to the terms of the TOU, in reliance thereon, TST issued user

 credentials to OneUp.


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         41.       Upon information and belief, OneUp and individuals working for or on behalf of

 OneUp continued to use these and possibly other user credentials to access TST’s Website

 content, software, services, business and proprietary information, which is made available only

 to users with user credentials who have accepted to be bound by the terms and conditions of the

 TOU.

         42.       On information and belief, through the surreptitious conduct of Alsabah, TST

 authorized OneUp to access the TST Website content, software, services, business and

 proprietary information for the limited purpose of utilizing the TST Website in accordance with

 the terms and conditions of the TOU.

         43.       Since at least 2015, OneUp accessed and used TST’s Website through its private

 user interface.

         44.       OneUp repeatedly accessed TST’s Website content, software, services, business

 and proprietary information between at least Fall 2016 and Spring 2017.

         45.       As a result of OneUp’s continued use and access of TST’s Website and continued

 payment of the monthly subscription fee through the Spring of 2017, OneUp became bound by

 the Revised TOU.

         46.       OneUp wrongfully copied TST’s copyrighted content to short-cut product

 development, and to directly compete with TST by providing a copycat service. Indeed, OneUp

 even stole the same process as TST in that prospective traders trade on a simulator, and upon

 satisfying certain profit goals and remaining within certain parameters, get funded with a profit

 split between the company and the trader.

         47.       In an effort to deliver its product to its customers faster, and to undercut TST’s

 subscription prices and profit splits, OneUp chose to wrongly copy TST’s copyrighted website


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 material and other proprietary information, rather than invest its own time and resources into

 developing it.

        48.       Upon information and belief, and despite agreeing to TST’s Terms of Use

prohibiting such activity, OneUp implanted its people, including two of its founders, into TST’s

Website content, software, services, business and proprietary information to gain an unfair

competitive advantage by learning the methodologies of TST’s business, collecting business

intelligence about TST’s proprietary business structure and methods, and copying TST’s Website

content and copyrighted materials, which they have incorporated into OneUp Trader, LLC’s

business and website.

         49.      In direct breach of TST’s TOU, these individuals and OneUp then used that ill-

 gotten data and information to develop a copycat platform to TST.

         50.      Rather than create its own novel website and process, OneUp copied TST’s

 content wholesale, and then tried to hide its direct copying by modifying its content once it was

 uncovered. Indeed, OneUp even copied many portions of TST’s website verbatim, and only

 changed some of the content after the copying was discovered by TST.

         51.      Because OneUp copied the information directly, and violated the TOU, it unfairly

 competed by being able to forgo the costs of developing its own system and content, and was able

 to short-circuit the time, resources and intellectual capital required to develop the product and

 system; significant resources that TST expended to start its business. This copying and ill- gotten

 data and information enabled OneUp to interfere with TST’s relationships with current and

 potential users, in large part by undercutting TST’s prices.




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         52.     In fact and by way of example, in OneUp’s wholesale copying of the Website, it

 even used many of TST’s trademarks, including numerous instances of exact copying and use of

 TST’s FUNDED ACCOUNTTM trademark. Exh. E.

         53.     Only after receiving a cease & desist letter from TST, OneUp finally took down

 some instances of its use of TST’s FUNDED ACCOUNTTM trademark, while leaving others, and

 also made some other changes to mask its copyright infringement. Exh. F.

        54.      However, OneUp Trader, LLC’s website still contained numerous graphs and

tables with either no change or de minimus changes as compared to TST’s website. Exh. F, at 2-3,

6, 9, 12-13, 15. Further, OneUp Trader, LLC’s help section contained multiple pages that were

copied verbatim from TST’s. Exh. F, at 2, 3.

         55.     Upon receipt of TST’s second letter dated May 9, 2017, OneUp made some more

 revisions to the OneUp Trader, LLC website. However, its website and process are still in breach

 of TST’s TOU.

         56.     TST sent one final letter on May 31, 2017, however, OneUp chose to ignore TST’s

 demands to stop violating its TOU, and instead OneUp launched a new website on June 12, 2017.

 Exh. G.

         57.     Because OneUp is in the same field as TST, and because OneUp had knowledge

 that TST owned the copyrighted material, its infringement and breach of the TOU is willful.

         58.     OneUp’s actions have resulted in, and will continue to result in, substantial and

 irreparable harm to TST and consumers.

         59.     TST has repeatedly requested that OneUp remove TST’s copyrighted content from

 the OneUp Trader, LLC website and cease all business activities in breach of TST’s TOU. Exh.

 H.

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           60.   But OneUp has rejected all of TST’s reasonable requests to resolve the matter

 amicably, so TST was forced to file the instant suit.

                                       COUNT I
                                COPYRIGHT INFRINGEMENT

           61.   TST incorporates the allegations from the preceding paragraphs as if fully set forth

 herein.

          62.    TST has applied for copyright registrations with the United States Copyright
Office.

           63.   TST is the true, rightful, and sole owner of the copyrights in its Website and

 Website content located at http://www.topsteptrader.com (“Website”) pursuant to Copyright

 Application No. 1-4001234481 which safeguards all protectable TST Website content from

 unlawful reproduction and use.

           64.   As previously set forth herein, OneUp had access and opportunity to copy TST’s

 Website and protected Website content.

           65.   OneUp Trader, LLC’s website wrongfully contained content and continues to

 contain derivative content that is the same and/or substantially similar to TST’s protected Website

 content.

           66.   An ordinary reasonable person viewing the OneUp Trader, LLC’s website as

 compared with TST’s Website would understand that content to be substantially similar. See e.g.,

 Website comparison showing substantially similar content at Exh. I.

           67.   By its actions alleged above, OneUp has infringed and continues to infringe upon

 TST’s copyrights by copying and willfully reproducing and distributing into the market infringing

 content with knowledge that they are either direct copies or derivatives of TST’s copyrighted

 website content.


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           68.   OneUp unlawfully obtained and used TST copyrighted content and material

 without permission or authority and applied it to for the OneUp Trader, LLC website, located at

 www.oneuptrader.com/how-it-works/.

           69.   OneUp’s acts of copyright infringement have caused and will continue to cause

 damage to TST, in an amount to be proved at trial.

           70.   OneUp’s conduct was done with intentional, willful and/or reckless, and

 undertaken with a conscious indifference to TST’s rights.

           71.   By reason of the foregoing, OneUp’s wrongful conduct has damaged TST, and

 caused and continues to cause irreparable harm and injury to TST.

           72.   TST is additionally entitled to statutory and enhanced damages, attorneys’ fees,

 costs, and injunctive relief.

                                        COUNT II
                                   BREACH OF CONTRACT

           73.   TST incorporates the allegations from the preceding paragraphs as if fully set forth

 herein.

           74.   Use of TST’s Website, its content including its software as well as use of TST’s

 services are governed by and subject to TST’s TOU. Exh. B.

           75.   TST’s users are presented with TST’s TOU and must agree to be bound by the

 terms and conditions of the TOU in order to obtain user credentials and establish an account.

           76.   At all relevant times, TST also prominently displayed a link to the TOU on TST’s

 homepage.

           77.   Upon information and belief, OneUp and/or individuals acting for an on OneUp’s

 behalf affirmatively accepted and agreed to be bound by the terms of the Original TOU in



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 exchange for information on and continuing access and use of TST’s Website content, , software,

 services, business and proprietary information.

         78.      As set forth above, OneUp and/or individuals acting for and on OneUp’s behalf

 affirmatively accepted and agreed to be bound by the terms of the Revised TOU in exchange for

 a monthly fee and continuing access to TST’s Website content, including use of its software.

         79.      TST’s Original and Revised TOUs are valid and enforceable contracts that are

 binding on OneUp.

         80.      With full knowledge of the terms of the TOUs and all of their protections,

 limitations, and prohibitions against unauthorized use of TST’s Website content, including its

 software, and despite agreeing to abide by the TOUs, OneUp breached the TOUs when OneUp

 copied TST’s Website content and its business platforms and protocols, and used TST’s Website

 and business template for its benefit, without TST’s consent.

         81.      Among other things, OneUp has breached the TOU including but not limited to

 when OneUp violated the provision that states that a user “shall not reproduce, distribute, modify,

 create derivative works of, publicly display, publicly perform, republish, download, store or

 transmit any of our material.” Exh. B, at 12.

         82.      OneUp also breached the TOU when OneUp violated the provision that states that

 a user “shall not access or use for any commercial purposes any part of [TST’s] Sites or Services.”

 Exh. B, at 12.

         83.      OneUp also breached the TOU when OneUp violated the provision that states that

 “no portion of [TST’s] Sites or Services, their contents or any copyright, trademark, trade name,

 service mark or any other proprietary information of [TST] displayed on [TST’s] Sites or




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 Services…may be reproduced, altered, transmitted, published or distributed, whether

 electronically [or otherwise]…without the prior written permission of [TST].” Exh. B, at 12.

         84.     OneUp breached the TOU when OneUp violated the provision that states that users

 “agree not to undertake any action that will interfere with or diminish [TST’s] right, title or

 interest in [its] intellectual property.” Exh. B, at 12.

         85.     OneUp further breached the TOU when OneUp violated the provision that

 expressly forbids it to “use [TST’s] Sites or Services [of TST] to gain competitive intelligence

 about [TST] or the Sites or Services to compete with [TST] or its affiliates.” Exh. B, at 15.

         86.     OneUp has willfully, repeatedly, and systematically breached these, and other

 provisions, of TST’s Original and Revised TOU.

         87.     TST has performed all conditions, covenants, and promises required of it in

 accordance with TST’s Original and Revised TOU.

         88.     OneUp’s breaches of the TOU have damaged TST, and caused and continues to

 cause irreparable harm and injury to TST, including direct and consequential damages such as

 lost profits, lost customers, and loss of goodwill.

         89.     OneUp’s conduct was done with evil motive, was fraudulent, intentional, and/or

 reckless, and undertaken with a conscious indifference to TST’s rights.

         90.     By reason of the foregoing, OneUp’s wrongful conduct has damaged Topstep, and

 caused and continues to cause irreparable harm and injury to TST, in excess of $75,000.

         91.     TST is entitled to injunctive relief, compensatory damages, reasonable attorneys’

 fees, and/or equitable relief.




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                                          COUNT III
                                    UNJUST ENRICHMENT
                                      (In the Alternative)

           92.   TST incorporates the allegations from the preceding paragraphs as if fully set forth

 herein.

           93.   TST has conferred a benefit upon OneUp by allowing OneUp to access to and use

 of TST’s Website content, software, services, business and proprietary information.

           94.   OneUp has benefitted from TST by accessing and using TST’s Website content,

 software, services, business and proprietary information without paying for the same.

           95.   By accepting and retaining these benefits, and not paying TST for the same,

 OneUp has been unjustly enriched at TST’s expense, thereby damaging TST.

           96.   By reason of the foregoing, OneUp’s wrongful conduct has damaged Topstep, and

 caused and continues to cause irreparable harm and injury to TST, in excess of $75,000.

                                            COUNT IV
                                             FRAUD

           97.   TST incorporates the allegations from the preceding paragraphs as if fully set forth

 herein.

           98.   OneUp knowingly made a misstatement of material fact to TST when, on or about

 September 13, 2015, OneUp expressed its false intention to abide by the terms of the Original

 and Revised TOU when OneUp accepted the terms of the Original TOU and set up a User

 Account on TST’s Website in order to gain access to TST’s Website content, software, services,

 business and proprietary information.

           99.   OneUp intended that TST would rely upon its representations intention to abide

 by the terms of the Original and Revised TOU.



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         100.   TST did reasonably and justifiably rely on the perceived truth of OneUp’s

 representations that it would abide by the terms of the TOUs when TST granted access to and use

 of Website content, software, services, business and proprietary information.

         101.   OneUp, on numerous occasions accessed TST’s Website content, software,

 services, business and proprietary information with the continuing intent to defraud TST and

 acquire TST’s copyrighted and proprietary material. By continuing to access TST’s Website

 content, software, services, business and proprietary information, OneUp continued to falsely

 reaffirm its agreement to be bound by terms of the TOU.

         102.   In furtherance of that fraud, OneUp without TST’s knowledge, authority or

 consent wrongfully downloaded, copied, transferred, and/or transmitted TST’s Website content,

 software, services, business and proprietary information and used such Website content, software,

 services, business and proprietary information in order to harm TST’s business interests and to

 gain an unfair competitive advantage over TST.

         103.   OneUp’s conduct was done with evil motive, was fraudulent, intentional, and/or

 reckless, and undertaken with a conscious indifference to TST’s rights.

         104.   TST has sustained and will continue to sustain damages as the direct result of its

 reliance on misrepresentations.

         105.   OneUp has been unjustly enriched by their fraudulent conduct.

         106.   By reason of the foregoing, OneUp’s wrongful conduct has damaged TST, and

 caused and continues to cause irreparable harm and injury to TST, in excess of $75,000.




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                                         REQUEST FOR RELIEF

         WHEREFORE, Plaintiff TopstepTrader, LLC respectfully request that this Court:

         1.      Enter judgment in favor of TST on each of its claims;

         2.      Award TST its actual damages against Defendants to be determined at trial;

         3.      Award TST Defendants’ profits from its aforementioned activities;

         4.      Award TST statutory damages against Defendants;

         5.      Award TST punitive damages against Defendants;

         6.      Award TST all of its costs and reasonable attorneys’ fees in this action as

 authorized by 17 U.S.C. § 505 and other applicable laws;

         7.      Awarding pre- and post-judgment interest at the maximum legal rate and costs;

         8.      Award TST an accounting for damages and for all the profits together with those

 profits lost by TST due to the actions of OneUp claimed herein for OneUp’s acts of copyright

 infringement;

         9.      Preliminarily and permanently enjoin Defendants and their predecessors,

 successors, divisions, subsidiaries, or joint ventures thereof, together with any and all parent or

 affiliated companies or corporations, and all officers, directors, employees, agents, attorneys,

 representatives, those acting in privity or concert with them, or on their behalf, from:

                 a.     Continuing to operate its website and business in direct contravention of
TST’s TOU;
                 b.     Utilizing the proprietary knowledge its employees gained while passing

 through TST’s program to design its competing business;

                 c.     Displaying, copying, distributing, promoting, offering, disseminating, or

 selling TST’s copyrighted materials or any modification, derivation, or reproduction thereof;



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                  d.    Representing that OneUp has any rights to TST’s copyrights, including

 ownership, license, or any other right;

                  e.    Doing and engaging in any of the acts described above and directing

 OneUp to conform with each and every provision of this prayer for relief; and

         10.      Grant to TST such other relief as may be just and warranted under the

 circumstances.

                                           JURY DEMAND

         Plaintiff TopstepTrader, LLC hereby demands a jury trial on all issues so triable.


 Dated: October 6, 2017                           Respectfully submitted,

                                                  TOPSTEPTRADER, LLC,

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that, on October 6, 2017, he caused this document to be served
upon the following counsel of record through electronic mail delivery.

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                                     By:    /s/Adam Wolek
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